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                          UNITED STATES DISTRICT COURT
  8                      CENTRAL DISTRICT OF CALIFORNIA
  9
       OSULA G GREKOV                           Case No. 2:22−cv−07828−AB−MAA
  10
                    Plaintiff(s),               ORDER SETTING SCHEDULING
  11                                            CONFERENCE
           v.
  12                             Date:                             May 5, 2023
     AMSHER COLLECTIONS SERVICES Time:                             10:00 a.m.
  13 INC., et al.
                                 Courtroom:                        7B
  14              Defendant(s).
  15
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  17
  18            READ THIS ORDER CAREFULLY. IT CONTROLS THIS CASE
  19            AND DIFFERS IN SOME RESPECTS FROM THE LOCAL RULES.
  20        This case has been assigned to Judge André Birotte Jr. This matter is set for a
  21   Scheduling Conference on the above date in Courtroom 7B of the First Street
  22   Courthouse, 350 West First Street, Los Angeles, CA 90012. If plaintiff has not
  23   already served the operative complaint on all defendants, plaintiff promptly shall do
  24   so and shall file proofs of service within three days thereafter. Defendants also shall
  25   timely serve and file their responsive pleadings, and within three days thereafter, file
  26   proofs of service. At the scheduling conference, the Court will set a date by which
  27   motions to amend the pleadings or add parties must be heard.
  28        The Scheduling Conference will be held pursuant to Fed. R. Civ. P. Rule 16(b).


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  1    The parties are reminded of their obligations under Fed. R. Civ. P. 26(a)(1) to make

  2    initial disclosures without awaiting a discovery request, and under Fed. R. Civ. P.

  3    26(f) to confer on a discovery plan by 21 days before the Scheduling Conference.

  4    The Court encourages counsel to agree to begin to conduct discovery actively

  5    before the Scheduling Conference. At the very least, the parties shall comply fully

  6    with the letter and spirit of Fed. R. Civ. P. 26(a) and thereby obtain and produce

  7    most of what would be produced in the early stage of discovery, because at the

  8    Scheduling Conference the Court will impose strict deadlines to complete

  9    discovery.

  10   I.   Joint Rule 26(f) Report

  11        The Joint Rule 26(f) Report must be filed by 14 days before the Scheduling

  12   Conference. A chambers copy of the Joint Rule 26(f) Report must be delivered to

  13   Judge Birotte’s chambers copy box outside the Clerk’s Office on the fourth floor

  14   of the courthouse by 12:00 p.m. (noon) the following business day.

  15        The Report shall be drafted by plaintiff (unless the parties agree otherwise),

  16   but shall be submitted and signed jointly. “Jointly” means a single report, regardless

  17   of how many separately-represented parties there are. The Joint Rule 26(f) Report

  18   shall specify the date of the Scheduling Conference on the caption page. It shall

  19   report on all matters described below, as specified by Fed. R. Civ. P. 26(f) and

  20   Local Rule 26:

  21        a.   Statement of the Case: A short synopsis (not to exceed two pages) of the

  22             main claims, counterclaims, and affirmative defenses.

  23        b.   Subject Matter Jurisdiction: A statement of the specific basis of federal

  24             jurisdiction, including supplemental jurisdiction. If there is a federal

  25             question, cite the federal law under which the claim arises.

  26        c.   Legal Issues: A brief description of the key legal issues, including any

  27             unsual substantive, procedural or evidentiary issues.

  28        d.   Parties, Evidence, etc.: A list of parties, percipient witnesses, and key


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  1              documents on the main issues in the case. For conflict purposes,

  2              corporate parties must identify all subsidiaries, parents, and affiliates.

  3         e.   Damages: The realistic range of provable damages.

  4         f. Insurance: Whether there is insurance coverage, the extent of coverge,

  5              and whether there is a reservation of rights.

  6         g.   Motions: A statement of the likelihood of motions seeking to add other

  7              parties or claims, file amended pleadings, transfer venue, etc.

  8         h.   Dispositive Motions: A description of the issues or claims that any party

  9              believes may be determined by motion for summary judgment. Please

  10             refer to the Standing Order for specific guidelines governing summary

  11             judgment motions.

  12        i. Manual for Complex Litigation: Whether all or part of the procedures of

  13             the Manual for Complex Litigation should be utilized.

  14        j. Status of Discovery: A discussion of the present state of discovery,

  15             including a summary of completed discovery.

  16        k.   Discovery Plan: A detailed discovery plan, as contempleted by Fed. R.

  17             Civ. P. 26(f). State what, if any, changes in the disclosures under Fed. R.

  18             Civ. P. 26(a) should be made, the subjects on which discovery may be

  19             needed and whether discovery should be conducted in phases or

  20             otherwise be limited, whether applicable limitations should be changed or

  21             other limitations imposed, and whether the Court should enter other

  22             orders. A statement that discovery will be conducted as to all claims and

  23             defenses, or other vague description, is not acceptable.

  24        l. Discovery Cut-off: A proposed discovery cut-off date. This means the

  25             final day for completion of discovery, including resolution of all

  26             discovery motions.

  27        m.   Expert Discovery: Proposed dates for expert witness disclosures (initial

  28             and rebuttal) and expert discovery cut-off under Rule 26(a)(2).


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  1         n.   Settlement Conference / Alternative Dispute Resolution (“ADR”): A

  2              statement of what settlement discussions have occurred (excluding any

  3              statement of terms discussed). If a Notice to Parites of Court-Directed

  4              ADR Program (Form ADR-08) was filed in this case, the Court will

  5              refer it to the magistrate judge, the Court Mediation Panel, or to private

  6              mediation (at the parties’ expense). The parties must indicate their

  7              preference in their Joint Rule 26(f) Report. No case will proceed to

  8              trial unless all parites, including an officer with full settlement authority

  9              for corporate parties, have appeared personally at an ADR proceeding.

  10        o.   Trial Estimate: A realistic estimate, in days, of the court time required

  11             for trial and whether trial will be by jury or by court. Each side should

  12             specify (by number, not by name) how many witnesses it contemplates

  13             calling. If the time estimate for trial given in the Joint Rule 26(f) Report

  14             exceeds four court days, counsel shall be prepared to discuss in detail the

  15             basis for the estimate.

  16        p.   Trial Counsel: The name(s) of the attorney(s) who will try the case.

  17        q.   Independent Expert of Master: Whether this is a case in which the Court

  18             should consider appointing a master pursuant to Fed. R. Civ. P. 53 or an

  19             independent scientific expert. (The appointment of a master may be

  20             especially appropriate if there are likely to be substantial discovery

  21             disputes, numerous claims to be construed in connection with a summary

  22             judgment motion, a lengthy Daubert hearing, a resolution of a difficult

  23             computation of damages, etc.).

  24        r. Schedule Worksheet: Complete the Schedule of Pretrial and Trial Dates

  25             Worksheet (“Worksheet”) attached to this Order and include it with your

  26             Joint Rule 26(f) Report. The parties MUST submit a completed

  27             Worksheet with their Joint Rule 26(f) Report. The Court ORDERS the

  28             parties to make every effort to agree on dates. The entries in the “Weeks


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  1               Before FPTC” column reflect what the Court believes is appropriate for

  2               most cases and will allow the Court to rule on potentially dispositive

  3               motions sufficiently in advance of the Final Petrial Conference.

  4               However, counsel may ask for earlier last dates by which the key

  5               requirements must be completed. Each date should be stated as month,

  6               day, and year, e.g., 10/15/2019. Hearings shall be on Fridays at 10:00

  7               a.m. Other deadlines (those not involving the Court) can be any day of

  8               the week. Counsel must avoid holidays. The Court may order different

  9               dates than those requested. The discovery cut-off date is the last day by

  10              which all depositions must be completed, responses to previously-served

  11              written discovery must be provided, and motions concerning discovery

  12              disputes must be heard. The cut-off date for motions is the last date on

  13              which motions may be heard, not filed. If the parties wish the Cour to

  14              set dates in addition to those on the Worksheet, they may so request by a

  15              separate Stipulation and Proposed Order. This is often appropriate for

  16              class actions, patent cases, and ERISA cases.

  17         s.   Other issues: A statement of any other issues affecting the status or

  18              management of the case (e.g., unusually complicated technical or

  19              technological issues, disputes over protective orders, extraordinarily

  20              voluminous document production, non-English speaking witnesses,

  21              ADA-related issues, discovery in foreign jurisdiction, etc.) and any

  22              proposals concerning severance, bifurcation, or other ordering of proof.

  23         The Joint Rule 26(f) Report should set forth the above-described information

  24   under section headings corresponding to those in this Order.

  25   II.   Scheduling Conference

  26         a.   Continuance: A request to continue the scheduling conference will be

  27              granted only for good cause.

  28         b.   Vacating the Scheduling Conference: The Court often vacates the


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  1              Scheduling Conference and issues the Scheduling Order based solely on

  2              the Joint Rule 26(f) Report.

  3         b.   Participation: If there is a hearing, lead trial counsel must attend.

  4    III. Notice to be Provided by Counsel

  5         Plaintiff’s counsel or, if plaintiff is appearing pro se, defendant’s counsel, shall

  6    provide this Order to any parties who first appear after the date of this Order and to

  7    parties who are known to exist but have not yet entered appearances.

  8    IV. Disclosures to Clients

  9         Counsel are ordered to deliver to their clients a copy of this Order and of the

  10   Court’s Order Re: Jury/Court Trial, which will contain the schedule that the Courts

  11   sets at the Scheduling Conference.

  12   IV. Court’s Website

  13        This and all other generally applicable orders of this Court are available on the

  14   Central District of California website, www.cacd.uscourts.gov, and on Judge

  15   Birotte’s webpage, http://www.cacd.uscourts.gov/honorable-andre-birotte-jr.

  16        The Local Rules are also available on the Court’s website.

  17        Parties appearing pro se must comply with Federal Rules of Civil

  18   Procedure and the Local Rules. See Local Rule 1-3, 83-2.2.3

  19        The Court thanks the parties and their counsel for their anticipated cooperation.

  20
          IT IS SO ORDERED.
  21
  22 Dated: March 20, 2023
  23                                      HONORABLE ANDRÉ BIROTTE JR.
  24                                      UNITED STATES DISTRICT COURT JUDGE

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                                        JUDGE ANDRÉ BIROTTE JR.
                            SCHEDULE OF PRETRIAL AND TRIAL DATES WORKSHEET
                 Please complete this worksheet jointly and file it with your Joint Rule 26(f) Report.
                    The Court ORDERS the parties to make every effort to agree on dates.
    Case No.                             Case Name:


                 Trial and Final Pretrial Conference Dates                   Pl(s)’ Date   Def(s)’ Date    Court Order
                                                                             mm/dd/yyyy    mm/dd/yyyy      mm/dd/yyyy

    Check one: [ ] Jury Trial or [ ] Court Trial                                                          [ ] Jury Trial
    (Tuesday at 8:30 a.m., within 18 months after Complaint filed)                                        [ ] Court Trial
    Estimated Duration: _______ Days                                                                      _______Days
    Final Pretrial Conference (“FPTC”) [L.R. 16], Hearing on Motions
    In Limine
    (Friday at 11:00 a.m., at least 17 days before trial)


                            Event 1                                Weeks     Pl(s)’ Date   Def(s)’ Date    Court Order
         Note: Hearings shall be on Fridays at 10:00 a.m.          Before    mm/dd/yyyy    mm/dd/yyyy      mm/dd/yyyy
             Other dates can be any day of the week.               FPTC

    Last Date to Hear Motion to Amend Pleadings/Add Parties
    [Friday]
    Non-Expert Discovery Cut-Off
    (no later than deadline for filing dispositive motion)             17

    Expert Disclosure (Initial)

    Expert Disclosure (Rebuttal)

    Expert Discovery Cut-Off                                           122
    Last Date to Hear Motions [Friday]
     • Rule 56 Motion due at least 5 weeks before hearing
     • Opposition due 2 weeks after Motion is filed                    12
     • Reply due 1 week after Opposition is filed
    Deadline to Complete Settlement Conference [L.R. 16-15]
     Select one: [ ] 1. Magistrate Judge (with Court approval)                                            [ ] 1. Mag. J.
                 [ ] 2. Court’s Mediation Panel                        10                                 [ ] 2. Panel
                 [ ] 3. Private Mediation                                                                 [ ] 3. Private

    Trial Filings (first round)
     • Motions in Limine
     • Memoranda of Contentions of Fact and Law [L.R. 16-4]
     • Witness Lists [L.R. 16-5]
     • Joint Exhibit List [L.R. 16-6.1]
     • Joint Status Report Regarding Settlement                        3
     • Proposed Findings of Fact and Conclusions of Law
       [L.R. 52] (court trial only)
     • Declarations containing Direct Testimony, if ordered
       (court trial only)
    Trial Filings (second round)
     • Oppositions to Motions In Limine
     • Joint Proposed Final Pretrial Conference Order
        [L.R. 16-7]
     • Joint/Agreed Proposed Jury Instructions (jury trial only)
     • Disputed Proposed Jury Instructions (jury trial only)
     • Joint Proposed Verdict Forms (jury trial only)                  2
     • Joint Proposed Statement of the Case (jury trial only)
     • Proposed Additional Voir Dire Questions, if any (jury
       trial only)
     • Evidentiary Objections to Decls. of Direct Testimony
       (court trial only)
1    The parties may seek dates for additional events by filing a separate Stipulation and Proposed Order. Class
     actions and patent and ERISA cases in particular may need to vary from the above.
2    The parties may wish to consider cutting off expert discovery prior to the deadline for filing an MSJ.




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